Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 1 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 2 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 3 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 4 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 5 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 6 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 7 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 8 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 9 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 10 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 11 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 12 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 13 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 14 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 15 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 16 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 17 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 18 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 19 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 20 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 21 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 22 of 23
Case 18-18455-ref   Doc 29-3 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                      Exhibit B - Mortgage Page 23 of 23
